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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION
 LANDMARK AMERICAN INSURANCE )
 COMPANY                                   )
                                           )
                 Plaintiff,                )
                                           )
 v.                                        ) Case No. 25-cv-2227
                                           )
 ADVANCED REPRODUCTIVE HEALTH )
 CENTER, LTD. d/b/a CHICAGO IVF; J.K., )
 an individual; and A.M., an individual,   )
                                           )
                 Defendants.

                     COMPLAINT FOR DECLARATORY JUDGMENT

       NOW COMES Plaintiff, Landmark American Insurance Company (“Landmark”), by and

through its attorneys, TRAUB LIEBERMAN STRAUS AND SHREWSBERRY, LLP, and for its Complaint

for Declaratory Judgment against the Defendants Advanced Reproductive Health Center, Ltd.

d/b/a Chicago IVF (“ARHC”), J.K., an individual, and A.M., an individual (collectively, where

appropriate, the “Defendants”), alleges the following:

                                   NATURE OF THE ACTION

       1.      Landmark is an insurance company that issued a policy of insurance providing

commercial general liability and professional liability coverage to “Advanced Reproductive

Health Centers Ltd. and IF Chicagoland Ltd.,” as the named insureds, bearing policy number

LHC860057, for the effective period August 4, 2024 to August 4, 2025 (the “Landmark Policy”).

       2.      Landmark brings this Complaint for Declaratory Judgment pursuant to 28 U.S.C. §

2201, et seq. and Rule 57 of the Federal Rules of Civil Procedure seeking a declaration with respect

to obligations claimed to be owed by Landmark to ARHC in connection with the consolidated

class action lawsuit styled, A.M and J.K., individually and on behalf of all others similarly situated,
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v. Advanced Reproductive Health Center, Ltd., d/b/a Chicago IVF, pending under Case No. 1:24-

cv-07559, in the U.S. District Court for the Northern District of Illinois (the “Underlying

Lawsuit”).

        3.      There exists an actual controversy among the parties concerning their respective

rights, duties and obligations under and pursuant to the Landmark Policy.

        4.      Landmark has no adequate remedy at law and, therefore, desires a judicial

determination of the parties’ rights, duties and obligations under and pursuant to the Landmark

Policy. A judicial determination is necessary and appropriate at this time so that the parties may

ascertain their rights, duties and obligations under and pursuant to the Landmark Policy in

connection with the Underlying Lawsuit.

                                           THE PARTIES

        5.      Landmark is, and at all times relevant, has been a corporation organized under the

laws of New Hampshire, with its principal place of business located in Georgia.

        6.      ARHC is, and at all times relevant, has been a corporation organized under the laws

of Illinois, with its principal place of business located in Skokie, Illinois.

        7.      A.M. is, and at all times relevant, has been domiciled in Manhattan, Illinois. A.M.

is joined as a defendant herein as a necessary party so that they may be bound by the judgment

entered in this case. If A.M. executes a stipulation agreeing to be bound by any judgment entered

herein, Landmark will voluntarily dismiss A.M. from this action.

        8.      J.K. is, and at all times relevant, has been domiciled in Plainfield, Illinois. J.K. is

joined as a defendant herein as a necessary party so that they may be bound by the judgment

entered in this case. If J.K. executes a stipulation agreeing to be bound by any judgment entered

herein, Landmark will voluntarily dismiss J.K. from this action.



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                                 JURISDICTION AND VENUE

       9.       This Court has subject matter jurisdiction over this dispute under 28 U.S.C. § 1332

in that it arises between citizens of different states and the amount in controversy, including the

combined costs of defense and alleged liability in the underlying case, exceeds the sum or value

of $75,000.00, exclusive of costs and interest. In addition, this action is brought pursuant to 28

U.S.C. §2201.

       10.      Venue is appropriate in this District pursuant to 28 U.S.C. § 1391 (a) and (b),

because events giving rise to the insurance coverage dispute took place in this District.

                                  GENERAL ALLEGATIONS

I.     The Underlying Lawsuit

       11.      On January 16, 2025, A.M. and J.K. (collectively, where appropriate, the

“Underlying Plaintiffs”) filed their “Consolidated Class Action Complaint” (the “Complaint”). A

copy of the Complaint is attached hereto as Exhibit A.

       12.      The Underlying Lawsuit alleges that “the amount in controversy exceeds the sum

or value of $5,000,000, exclusive of interest and costs” and “there are more than 100 members in

the proposed class.”

       13.      The Underlying Lawsuit arises out of ARHC’s alleged intentional installation of

tracking technologies (i.e., the Metal Pixel, Google Analytics and Google Tag Manager) on its

website to collect and disclose private information to unauthorized third parties for pecuniary gain,

without consent from the website users.

       14.      The Underlying Lawsuit alleges that the tracking technologies are advertising and

analytics tools that allow website owners to track visitor actions on their websites and send the

corresponding information to the owner of the tracking technology.



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       15.     The Underlying Lawsuit alleges that ARHC utilized these tracking technologies in

violation of ARHC’s own privacy policies and HIPAA.

       16.     The Underlying Lawsuit alleges that J.K. and A.M., patients of ARHC, visited and

used ARHC’s website in 2019 and 2021, respectively.

       17.     The Underlying Lawsuit alleges that the private information collected and disclosed

by ARHC included status as medical patients, communications with ARHC on the website,

including medical conditions for which they sought treatments, searches for doctors, and

scheduling of appointments (collectively, “PHI”), and personally identifiable information (“PII”)

including, but not limited to, patients’ locations, IP address, device identifiers, individual’s unique

Facebook ID and other unique personal identifiers.

       18.     The Underlying Lawsuit alleges ARHC assisted third parties in intercepting

patients’ communications with ARHC’s website and disclosed the Underlying Plaintiffs’ and the

class members’ private information to third parties.

       19.     Count I of the Underlying Lawsuit asserts a claim for Violations of Electronic

Communications Privacy Act, 18 U.S.C. § 2511(1), et seq., and alleges that whenever the

Underlying Plaintiffs and the class members interacted with ARHC’s website, ARHC through the

tracking technologies embedded and operating on its website, contemporaneously and

intentionally disclosed the Underlying Plaintiffs’ and the class members’ PII and PHI to third

parties, without authorization or consent.

       20.     In Count I of the Underlying Lawsuit, the Underlying Plaintiffs allege that the class

members have suffered emotional distress and diminution in value of the Underlying Plaintiffs’

and the class members’ PII and PHI, and seek statutory damages (whichever is the greater of $100




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for each day of violation or $10,000), equitable or declaratory relief, compensatory and punitive

damages, and attorneys’ fees and costs.

        21.      Count II of the Underlying Lawsuit asserts a claim for Negligence, and alleges that

ARHC breached its duties to the Underlying Plaintiffs and the class members by installing the

tracking technologies to disclose and transmit PII and PHI to third parties without consent or

authorization.

        22.      In Count II of the Underlying Lawsuit, the Underlying Plaintiffs allege that they

and the class members have suffered the following: (a) their PII and PHI is no longer private; (b)

ongoing harassment and embarrassment in the form of unwanted targeted advertisements; (c)

erosion of the provider-patient relationship; (d) general damages for the invasions of their rights;

(e) nominal damages for each violation; and (f) diminution of their PII and PHI.

        23.      Count III of the Underlying Lawsuit asserts a claim for Unjust Enrichment and

alleges ARHC derived a benefit from its collection and disclosure of the Underlying Plaintiffs’

and the class members’ PII and PHI and has wrongfully retained such benefit.

        24.      In Count III of the Underlying Lawsuit, A.M. and J.K. seek disgorgement into a

common fund for the benefit of all class members of those unlawful or inequitable proceeds that

ARHC received.

        25.      Count IV of the Underlying Lawsuit asserts a claim for Violation of the Illinois

Eavesdropping Statute (720 ILCS § 5/14-1, et seq.) that ARHC’s violations were wonton, reckless

and/or malicious.

        26.      In Count IV, the Underlying Plaintiffs seek (a) class certification and

representation; (b) equitable relief, enjoining ARHC from engaging in the unlawful practices and

illegal acts described in the complaint; (c) injunctive relief and other equitable relief to protect the



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interests of the class members; and (d) damages including (i) actual or statutory damages; (ii)

punitive damages in an amount to be determined at trial; (iii) prejudgment interest on all amounts

awarded; (iv) injunctive relief as the court deems proper; and (v) reasonable attorneys’ fees and

expenses and costs of suit.

II.    The Landmark Policy

       27.     Landmark issued a policy of insurance providing commercial general liability and

professional liability coverage to “Advanced Reproductive Health Centers Ltd. and IF

Chicagoland Ltd.,” as the named insureds, bearing policy number LHC860057, for the effective

period August 4, 2024 to August 4, 2025. A copy of the Landmark Policy is attached hereto as

Exhibit B.

       28.     The Landmark Policy provides commercial general liability limits of $1 million

each occurrence, professional liability limits of $1 million each claim, and $3 million policy

aggregate. Coverage under the Landmark Policy is subject to a $25,000 each claim deductible.

       29.     The Insuring Agreement of Coverage B (Personal And Advertising Injury Liability)

in the Commercial General Liability (“CGL”) coverage part of the Landmark Policy provides, in

relevant part, as follows:

       a.      We will pay those sums that the insured becomes legally obligated to pay
               as damages because of “personal and advertising injury” to which this
               insurance applies. We will have the right and duty to defend the insured
               against any “suit” seeking those damages. However, we will have no duty
               to defend the insured against any “suit” seeking damages for “personal and
               advertising injury” to which this insurance does not apply. We may, at our
               discretion, investigate any offense and settle or defend any “claim” or “suit”
               that may result. [* * *]

       b.      This insurance applies to “personal and advertising injury” caused by an
               offense arising out of your business, but only if the offense was committed
               in the “coverage territory” during the policy period.




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       30.     The CGL coverage part of the Landmark Policy defines “personal and advertising

injury” as follows:

       15.     “Personal and advertising injury” means injury, including consequential
               “bodily injury”, arising out of one or more of the following offenses:

               a.     False arrest, detention or imprisonment;
               b.     Malicious prosecution;
               c.     The wrongful eviction from, wrongful entry into, or invasion of the
                      right of private occupancy of a room, dwelling or premises that a
                      person occupies, committed by or on behalf of its owner, landlord
                      or lessor;
               d.     Oral or written publication, in any manner, of material that slanders
                      or libels a person or organization or disparages a person’s or
                      organization’s goods, products or services;
               e.     The use of another’s advertising idea in your “advertisement.”

       31.     The CGL coverage part of the Landmark Policy contains an Exclusion v. (Access

Or Disclosure Of Confidential Or Personal Information), which precludes coverage for:

       v.      Access Or Disclosure Of Confidential Or Personal Information

               “Personal and advertising injury” arising out of any access to or disclosure
               of any person’s or organization’s confidential or personal information,
               including patents, trade secrets, processing methods, customer lists,
               financial information, credit card information, health information or any
               other type of nonpublic information.

               This exclusion applies even if damages are claimed for notification costs,
               credit monitoring expenses, forensic expenses, public relations expenses or
               any other loss, cost or expense incurred by you or others arising out of any
               access to or disclosure of any person’s or organization’s confidential or
               personal information.

       32.     The Insuring Agreement of the Medical Professional Liability (“MPL”) coverage

part of the Landmark Policy provides as follows:

       The Company will pay on behalf of the Insured, as shown in the Declarations, all
       sums that the Insured becomes legally obligated to pay as Damages and associated
       Claim Expenses arising out of a negligent act, error or omission, even if the Claim
       asserted is groundless, false or fraudulent, in the rendering of or failure to render
       professional services as described in the Business Description on the Declarations,
       provided that the:


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        1.      Claim is first made against the Insured during the Policy Period, and
                reported to the Company no later than sixty (60) days after the end of the
                Policy Period;

        2.      Negligent act, error or omission took place in a covered territory;

        3.      Negligent act, error or omission took place after the Retroactive Date as
                shown in the Declarations.

        33.     The Declarations of the Policy identifies ARHC’s “Business Description” as

“Fertility Clinic.”

        34.     The MPL coverage part of the Landmark Policy contains an Exclusion A., which

precludes coverage for any “Claim” or “Claim Expenses” based upon or arising out of:

        A.      Personal and Advertising Liability.

        35.     The MPL coverage part of the Landmark Policy defines “Personal and Advertising

Liability” as follows:

        G.      Personal and Advertising Injury means injury, including consequential
                Bodily Injury, arising out of one or more of the following offenses:

                1.       False arrest, detention or imprisonment;
                2.       Malicious prosecution or abuse of process;
                3.       Wrongful eviction from, wrongful entry into, or invasion of the right
                         of private occupancy of a room, dwelling or premises that a person
                         occupies, committed by or on behalf of its owner, landlord or lessor;
                4.       Oral or written publication, in any manner, of material that slanders
                         or libels a person or organization or disparages a person’s or
                         organization’s goods, products or services;
                5.       Oral or written publication, in any manner, of material that violates
                         a person’s right of privacy;
                6.       Use of another’s advertising idea in your Advertisement; or
                7.       Infringing upon another’s copyright, trade dress or slogan in your
                         Advertisement.

III.    Landmark’s Disclaimer Of Coverage

        36.     On December 3, 2024, Landmark issued correspondence disclaiming coverage to

ARHC for the underlying lawsuits filed individually by A.M. and J.K. (which were later


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consolidated) and requesting that ARHC withdraw its tender of the same. A copy of Landmark’s

December 3, 2024 correspondence is attached as Exhibit C.

       37.     On January 10, 2025, counsel for ARHC issued email correspondence to counsel

for Landmark advising that the defense of ARHC in the Underlying Lawsuit is currently being

covered by another insurance carrier. A copy of Walker Lawrence’s January 10, 2025 email

correspondence is attached hereto as Exhibit D.

       38.     On February 7, 2025, Landmark issued correspondence reiterating its disclaimer of

coverage to ARHC and attaching a draft complaint seeking declaratory judgment relief if ARHC

failed to withdraw ARHC’s tender of the Underlying Lawsuit. A copy of Landmark’s February 7,

2025 correspondence is attached as Exhibit E.

       39.     On February 18, 2025, counsel for the parties had a telephone call, in which counsel

for ARHC represented that he would get Landmark a response to its request for ARHC to withdraw

its tender of the Underlying Lawsuit during the week of February 24, 2025. A copy of the February

18, 2025 email correspondence from Landmark’s counsel memorializing the February 18, 2025

telephone call is attached as Exhibit F.

       40.     Despite Landmark’s subsequent requests for ARHC to withdraw its tender, ARHC

(including its counsel) have failed to withdraw ARHC’s tender of the Underlying Lawsuit.

                    COUNT I – DECLARATORY JUDGMENT
 (No Duty To Defend Or Indemnify ARHC In Connection With The Underlying Lawsuit
              Under The CGL Coverage Part Of The Landmark Policy)

       41.     Landmark adopts and realleges the allegations in Paragraphs 1 through 40 of its

Complaint as and for Paragraph 41, as if fully set forth herein.

       42.     The Insuring Agreement of Coverage B (Personal And Advertising Injury Liability)

of the CGL coverage part of the Landmark Policy provides that Landmark will pay those sums



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that ARHC becomes legally obligated to pay as damages because of “personal and advertising

injury.”

       43.     The CGL coverage part of the Landmark Policy defines “personal and advertising

injury” as follows:

       15.     “Personal and advertising injury” means injury, including consequential
               “bodily injury”, arising out of one or more of the following offenses:

               a.      False arrest, detention or imprisonment;
               b.      Malicious prosecution;
               c.      The wrongful eviction from, wrongful entry into, or invasion of the
                       right of private occupancy of a room, dwelling or premises that a
                       person occupies, committed by or on behalf of its owner, landlord
                       or lessor;
               d.      Oral or written publication, in any manner, of material that slanders
                       or libels a person or organization or disparages a person’s or
                       organization’s goods, products or services;
               e.      The use of another’s advertising idea in your “advertisement.”

       44.     The Underlying Lawsuit arises out of ARHC’s alleged intentional installation of

tracking technologies (i.e., the Metal Pixel, Google Analytics and Google Tag Manager) on its

website to collect and disclose private information to unauthorized third parties for pecuniary gain,

without consent from the website users.

       45.     The Underlying Lawsuit, therefore, does not allege a “personal and advertising

injury,” as the term is defined by the Landmark Policy.

       46.     Because the Insuring Agreement of Coverage B (Personal And Advertising Injury

Liability) of the CGL coverage part of the Landmark Policy is not satisfied, Landmark has no duty

to defend or indemnify ARHC under the CGL coverage part of the Landmark Policy in connection

with the Underlying Lawsuit.

       47.     Coverage under Insuring Agreement of Coverage B (Personal And Advertising

Injury Liability) of the CGL coverage part of the Landmark Policy is subject to an Exclusion v.



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(Access Or Disclosure Of Confidential Or Personal Information), which precludes coverage for

“‘Personal and advertising injury’ arising out of any access to or disclosure of any person’s or

organization’s confidential or personal information, including patents, trade secrets, processing

methods, customer lists, financial information, credit card information, health information or any

other type of nonpublic information.”

       48.     The Underlying Lawsuit arises out of ARHC’s alleged intentional installation of

tracking technologies (i.e., the Metal Pixel, Google Analytics and Google Tag Manager) on its

website to collect and disclose private information to unauthorized third parties for pecuniary gain,

without consent from the website users, and specifically alleges ARHC had access to and disclosed

the class members’ confidential or personal information.

       49.     Because Exclusion v. (Access Or Disclosure Of Confidential Or Personal

Information) applies to preclude coverage for ARHC under the CGL coverage part of the

Landmark Policy, Landmark has no duty to defend or indemnify ARHC under the CGL coverage

part of the Landmark Policy in connection with the Underlying Lawsuit.

       50.     An actual controversy exists between Landmark and ARHC, and, by the terms and

provisions of 28 U.S.C. § 2201, this Court is vested with the authority to declare the rights and

liabilities of the parties hereto and to grant such further and other relief as may be necessary.

       WHEREFORE, Plaintiff, Landmark American Insurance Company, respectfully prays that

this Honorable Court:

       a.      Determine and adjudicate the rights and liabilities of the parties hereto with respect
               to the Landmark Policy;

       b.      Find and declare that Landmark has no duty under the CGL coverage part of the
               Landmark Policy to defend ARHC in the Underlying Lawsuit, or indemnify ARHC
               for any judgment or settlement entered therein; and,




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        c.      Grant Landmark such other and further relief that the Court deems proper under the
                facts and circumstances.


                     COUNT II – DECLARATORY JUDGMENT
  (No Duty To Defend Or Indemnify ARHC In Connection With The Underlying Lawsuit
               Under The MPL Coverage Part Of The Landmark Policy)

        51.     Landmark adopts and realleges the allegations in Paragraphs 1 through 50 of its

Complaint as and for Paragraph 51, as if fully set forth herein.

        52.     The Insuring Agreement of the MPL coverage part of the Landmark Policy

provides that Landmark will pay on behalf of ARHC, all sums that it becomes legally obligated to

pay as “Damages” and associated “Claim Expenses” arising out of a negligent act, error or

omission, in the rendering of or failure to render professional services as described in the Business

Description on the Declarations.

        53.     The Declarations of the Policy identifies ARHC’s “Business Description” as

“Fertility Clinic.”

        54.     The Underlying Lawsuit alleges that ARHC intentionally installed tracking

technologies on its website and disclosed the class members’ personal information to unauthorized

third parties without consent.

        55.     The Underlying Lawsuit, therefore, does not allege a negligent act, error or

omission in the rendering of or failure to render professional services, described as “Fertility

Clinic.”

        56.     Because the Insuring Agreement of the MPL coverage part of the Landmark Policy

is not satisfied, Landmark has no duty to defend or indemnify ARHC under the MPL coverage

part of the Landmark Policy in connection with the Underlying Lawsuit.




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        57.    Coverage under the Insuring Agreement of the MPL coverage part of the Landmark

Policy is subject to an Exclusion A. any “Claim” or “Claim Expenses” based upon or arising out

of:

        A.     Personal and Advertising Liability.

        58.    The MPL coverage part of the Landmark Policy defines “Personal and Advertising

Liability” as follows:

        G.     Personal and Advertising Injury means injury, including consequential
               Bodily Injury, arising out of one or more of the following offenses:

               1.        False arrest, detention or imprisonment;
               2.        Malicious prosecution or abuse of process;
               3.        Wrongful eviction from, wrongful entry into, or invasion of the right
                         of private occupancy of a room, dwelling or premises that a person
                         occupies, committed by or on behalf of its owner, landlord or lessor;
               4.        Oral or written publication, in any manner, of material that slanders
                         or libels a person or organization or disparages a person’s or
                         organization’s goods, products or services;
               5.        Oral or written publication, in any manner, of material that violates
                         a person’s right of privacy;
               6.        Use of another’s advertising idea in your Advertisement; or
               7.        Infringing upon another’s copyright, trade dress or slogan in your
                         Advertisement.

        59.    The Underlying Lawsuit arises out of ARHC’s alleged intentional installation of

tracking technologies (i.e., the Metal Pixel, Google Analytics and Google Tag Manager) on its

website to collect and disclose private information to unauthorized third parties for pecuniary gain,

without consent from the website users.

        60.    Because Exclusion A. applies to preclude coverage under the MPL coverage part

of the Landmark Policy, Landmark has no duty to defend or indemnify ARHC under the MPL

coverage part of the Landmark Policy in connection with the Underlying Lawsuit.




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       61.     An actual controversy exists between Landmark and ARHC, and, by the terms and

provisions of 28 U.S.C. § 2201, this Court is vested with the authority to declare the rights and

liabilities of the parties hereto and to grant such further and other relief as may be necessary.

       WHEREFORE, Plaintiff, Landmark American Insurance Company, respectfully prays that

this Honorable Court:

       a.      Determine and adjudicate the rights and liabilities of the parties hereto with respect
               to the Landmark Policy;

       b.      Find and declare that Landmark has no duty under the MPL coverage part of the
               Landmark Policy to defend ARHC in the Underlying Lawsuit, or indemnify ARHC
               for any judgment or settlement entered therein; and,

       c.      Grant Landmark such other and further relief that the Court deems proper under the
               facts and circumstances.




Dated: March ___, 2025                 Respectfully submitted,

                                       LANDMARK AMERICAN INSURANCE COMPANY

                                       /s/    Danielle K. Kegley
                                       Danielle K. Kegley
                                       One of Plaintiff’s Attorneys

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